
Nelson, J.,
delivered the opinion of the court:
This is a motion on the part of the United States to reinstate this cause on the docket, which was dismissed at this' term, and remand it back to the Court of Claims with a view to an amended or special appeal under the 5th section of the act of March 3, 1863. (12 Stat. L„ pp. 765-6.) The cause was dismissed on the ground it did not appear that the amount in controversy exceeded $3,000. The same section provides “that when the judgment or decree will affect a class of cases, or furnish a precedent for the future action of any executive department of the government in the adjustment of such class of cases,” “ and such facts shall be certified to by the presiding justice of the Court of Claims, the Supreme Court shall entertain an appeal on behalf of the United States, without regard to the amount in controversy.”
The case involves the right of the claimant to a military bounty land warrant under the acts of Congress passed March 3, 1855, and May 14, 1856, which claim had been rejected by the Commissioner of Pensions, and the rejection confirmed by the Secretary of the Interior. The case would seem to fall within the provision providing for a special appeal on behalf of the government.
We see no valid objection to the motion, and therefore direct the cause to be reinstated on the docket, and the record remanded back to the Court of Claims for such further proceedings as may seem fit and proper in.the cause as it respects the appeal prayed for.
